Case 1:24-cv-00536-AJT-WEF           Document 1       Filed 04/04/24      Page 1 of 24 PageID# 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA


 ERIN NAYLOR,                           )
 on behalf of the BAE Systems           )
 Employees’ Savings and Investment      )
 Plan,                                  )
                                        )
       Plaintiff,                       )
 vs.                                    )
                                        )
 BAE SYSTEMS, INC.,                     )
                                        )
       Defendant.                       )
 ______________________________________ )

                                CLASS ACTION COMPLAINT

        Plaintiff, Erin Naylor (“Plaintiff”), respectfully files this Class Action Complaint against

 Defendant BAE Systems, Inc. (“Defendant”), for breaching its fiduciary duties in violation of the

 Employee Retirement Income Security Act, 29 U.S.C. §§1001–1461 (“ERISA”). Specifically,

 Defendant violated ERISA by: (1) causing the BAE Systems Employees’ Savings and Investment

 Plan (“Plan”) to pay excessive and unreasonable compensation to the Plan’s recordkeeper resulting

 in unreasonably high costs to Plan participants. In further support thereof, Plaintiff alleges as

 follows:

                                      BRIEF OVERVIEW

        1.     This class action is brought against Defendant, the Plan’s fiduciary, for breach of

 Defendant’s ERISA fiduciary duty to prudently administer the Plan.

        2.     “ERISA is a remedial statute designed to protect the interests of plan participants

 and beneficiaries….Courts should not hasten to employ technical rules of pleading and practice to

 defeat that goal.” Degnan v. Publicker Industries, Inc., 83 F.3d 27, 30 (1st Cir. 1996). This
Case 1:24-cv-00536-AJT-WEF           Document 1       Filed 04/04/24      Page 2 of 24 PageID# 2




 principal favors liberal construction of Plaintiff’s pleadings. Fitzgerald v. Codex Corp., 882 F.2d

 586, 589 (1st Cir. 1989); see also Jackson v. Truck Drivers’ Union Local 42 Health & Welfare

 Fund, 933 F. Supp. 1124, 1134 (D. Mass. 1996).

           3.   To safeguard plan participants and beneficiaries, ERISA imposes strict fiduciary

 duties of loyalty and prudence upon employers and other plan fiduciaries. 29 U.S.C. § 1104(a)(1).

 These twin fiduciary duties are “the highest known to the law.” Sweda v. Univ. of Pennsylvania,

 923 F.3d 320, 333 (3d Cir. 2019). Fiduciaries must act “solely in the interest of the participants

 and beneficiaries,” 29 U.S.C. § 1104(a)(1)(A), with the “care, skill, prudence, and diligence” that

 would be expected in managing a plan of similar scope. 29 U.S.C. § 1104(a)(1)(B).

           4.   Because retirement savings in defined contribution plans grow and compound over

 the course of the employee participants’ careers, excessive fees paid by Plan participants to

 administer the Plan can dramatically reduce the amount of benefits available when participants are

 ready to retire. Over time, even small differences in fees can compound and result in a vast

 difference in the amount of savings available at retirement. As the Supreme Court has explained,

 “[e]xpenses, such as management or administrative fees, can sometimes significantly reduce the

 value of an account in a defined-contribution plan.” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1825

 (2015).

           5.   The impact of excessive fees or compensation to third-party service providers on

 employees’ retirement assets is dramatic. The U.S. Department of Labor has noted that a 1% higher

 level of fees over a 35-year period makes a 28% difference in retirement assets at the end of a

 participant’s career. U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, p. 2 (September, 2019).

           6.   As of December 31, 2022, (the last year in which the Defendant filed a 5500 Annual

 Disclosure for the Plan with the U.S. Department of Labor), the Plan had $8,232,987,243 in assets




                                                -2-
Case 1:24-cv-00536-AJT-WEF            Document 1       Filed 04/04/24      Page 3 of 24 PageID# 3




 and 48,359 participants with account balances. Instead of leveraging the Plan’s tremendous assets

 and bargaining power to benefit Plan participants, Defendant caused the Plan to pay unreasonable

 and excessive compensation for recordkeeping and other administrative services to the Plan’s

 recordkeeper, Alight Solutions.

        7.      On October 10, 2023, Defendant announced that it caused the Plan to change its

 recordkeeper from Alight Solutions to Empower Retirement. However, for purposes of this

 Complaint the identity of the recordkeeper is not material.

        8.      Defendant agreed to compensate the Plan’s recordkeeper in two important ways.

 First, Defendant agreed that the Plan’s recordkeeper would receive a direct payment from Plan

 participants each year in the amount of approximately $125 per Plan participant, per year. For

 example, in 2022, Defendant caused the Plan to pay the recordkeeper $5,987,905 in direct

 compensation. There were 48,359 Plan participants with account balances at the end of 2022. So,

 $5,987,905 (direct compensation) / 48,359 (Plan participants) = $124 per Plan participant. The

 direct compensation alone is excessive. A Plan like the one here should pay no more than $25 per

 participant, per year for recordkeeping services. Thus, had Defendant acted prudently, in 2022 the

 Plan would have paid total compensation to the recordkeeper of $25 (per participant x 48,359 (Plan

 participants) = $1,208,975. Accordingly, in 2022 Defendant caused the Plan to pay excessive direct

 compensation to the recordkeeper of about $4,751,037. Defendant caused the Plan to pay the

 recordkeeper excessive direct compensation in similar amount throughout ERISA’s six-year

 limitation period.

        9.      But it gets worse for Defendant. Defendant also agreed the recordkeeper would

 receive additional compensation from the Plan via “float.” Float is money in transit in or out of the

 Plan. Defendant agreed that anytime Plan participants deposit or withdraw money from their




                                                 -3-
Case 1:24-cv-00536-AJT-WEF            Document 1        Filed 04/04/24      Page 4 of 24 PageID# 4




 individual accounts in the Plan, that money will first pass through the recordkeeper’s clearing

 account. Plan participant money typically sits in the recordkeeper’s clearing account for at least 2-

 3 days (often much longer). Defendant has agreed any investment returns and/or interest earned

 on Plan participant money while it is in the recordkeeper’s clearing account shall belong to the

 recordkeeper. This is an additional form of compensation – indirect compensation – the

 recordkeeper received from the Plan.

        10.     There is more than $8 billion of assets in the Plan. The Plan’s Annual Form 5500

 disclosures show that during the relevant time period the daily average Plan cash in the

 recordkeeper’s clearing account was at least $3 million. A five-day float using present value shows

 that if the recordkeeper invested the float in a simple S&P 500 fund, the recordkeeper would have

 earned more than $10,000,000 from “float” during the limitations period.

        11.     The U.S. Department of Labor has issued guidance concerning fiduciary duties for

 payment of compensation by plan sponsors to recordkeepers via float. The Department of Labor

 instructs that an ERISA fiduciary acts imprudently when it allows recordkeepers to receive float

 compensation, unless plan fiduciaries, substantively understand the arrangement, monitor the

 compensation received by recordkeepers from float, negotiate the amount, and include the

 compensation in the total mix of compensation a recordkeeper receives from a plan for providing

 service to the plan. This is a common-sense approach.

        12.     In 2002, the Department of Labor issued Field Assistance Bulletin 2002-3 (Nov. 5,

 2002), attached as Exhibit 1. Specifically, the bulletin describes what a fiduciary needs “to consider

 in evaluating the reasonableness of an arrangement under which the service provider will be

 retaining ‘float’ and what information [] a service provider [is] required to disclose to plan

 fiduciaries with respect to such arrangements…” Id. at *1. The document then sets out steps that




                                                 -4-
Case 1:24-cv-00536-AJT-WEF            Document 1       Filed 04/04/24      Page 5 of 24 PageID# 5




 plan fiduciaries and service providers should take to ensure that float practices are adequately

 disclosed, reviewed, and compensation is reasonable – as required by ERISA.

         13.    In short, Defendant has not tracked, monitored, negotiated, or even substantively

 recognized that the Plan’s recordkeeper receives as millions of dollars from float compensation.

 This is money that should have been used to reduce or offset completely the additional millions of

 dollars in direct compensation the recordkeeper received from the Plan during the relevant time

 period. It was imprudent for the Defendant, as noted by the U.S. Department of Labor, for

 Defendant to ignore millions of dollars in compensation received by the recordkeeper from the

 Plan.

         14.    Plaintiff has standing to bring this action on behalf of the Plan because she

 participated in the Plan and was injured by Defendant’s unlawful conduct. Plaintiff and the putative

 class members are entitled to receive benefits in the amount of the difference between the value of

 their individual Plan accounts currently, or as of the time their accounts were distributed, and what

 their accounts are or would have been worth, but for Defendant’s breaches of fiduciary duty as

 described herein.

         15.    For purposes of this Complaint, Plaintiff has drawn reasonable inferences regarding

 these processes based upon several factors.

         16.    Defendant did not adhere to fiduciary best practices to control Plan expenses. To

 the extent that Defendant made any prudent attempt to control the Plan’s expenses and to ensure

 the expenses were not excessive, Defendant employed flawed and ineffective processes, which

 failed to ensure that: (a) the fees and expenses charged to Plan participants were reasonable, and

 (b) that the compensation the recordkeeper received from the Plan was reasonable.

         17.    Defendant’s mismanagement of the Plan constitutes a breach of the fiduciary duty




                                                 -5-
Case 1:24-cv-00536-AJT-WEF             Document 1        Filed 04/04/24       Page 6 of 24 PageID# 6




 of prudence in violation of 29 U.S.C. § 1104. Defendant’s actions (and omissions) were contrary

 to actions of a reasonable fiduciary and cost the Plan and its participants millions of dollars.

                                   JURISDICTION AND VENUE

        18.     This Court has exclusive jurisdiction over the subject matter of this action under 29

 U.S.C. §1132(e)(1) and 28 U.S.C. §1331 because it is an action under 29 U.S.C. §1132(a)(2) and

 (3).

        19.     This judicial District is the proper venue for this action under 29 U.S.C. §1132(e)(2)

 and 28 U.S.C. §1391(b) because it is the district in which the Plan is administered, and where at

 least one of the alleged breaches took place.

                                              THE PLAN

        20.     The Plan is a qualified retirement plan commonly referred to as a 401(k) plan.

        21.     The Plan is established and maintained under written documents in accordance with

 29 U.S.C. §1102(a)(1).

        22.     More specifically, the Plan is a “defined contribution” or “individual account” plan

 within the meaning of ERISA § 3(34), 29 U.S.C. § 1002(34).

        23.     Eligible current and former employees of Defendant are eligible to participate in

 the Plan. The Plan provides the primary source of retirement income for many of Defendant’s

 former employees.

                                            THE PARTIES

                                         Plaintiff & Standing

        24.     Plaintiff is a participant in the Plan under 29 U.S.C. §1002(7) because she is eligible

 to receive benefits under the Plan. Plaintiff is a current participant in the Plan.




                                                  -6-
Case 1:24-cv-00536-AJT-WEF              Document 1       Filed 04/04/24      Page 7 of 24 PageID# 7




         25.     In terms of standing, §1132(a)(2) allows recovery for a “plan” and does not provide

 a remedy for individual injuries distinct from plan injuries. Here, the Plan suffered millions of

 dollars in losses caused by Defendant’s fiduciary breaches.

         26.     The Plan continues suffering economic losses, and those injuries may be redressed

 by a judgment of this Court in favor of Plaintiff and the Plan. The Plan is the victim of any fiduciary

 breach and the recipient of any recovery. Id. at 254.

         27.     Section 1132(a)(2) authorizes any participant to sue derivatively as a representative

 of the plan to seek relief on behalf of the plan. 29 U.S.C. §1132(a)(2). As explained in detail below,

 the Plan suffered millions of dollars in losses caused by Defendant’s fiduciary breaches and it

 remains exposed to harm and continued losses, and those injuries may be redressed by a judgment

 of this Court in favor of Plaintiff.

         28.     To the extent the Plaintiff must also show an individual injury even though

 §1132(a)(2) does not provide redress for individual injuries, Plaintiff has standing to bring this

 action on behalf of the Plan because she participates in the Plan and was injured by Defendant’s

 unlawful conduct.

         29.     To establish standing, the Plaintiff need only show a constitutionally adequate

 injury flowing from those decisions or failures. Plaintiff alleges such an injury for the claim herein.

         30.     In other words, the Plaintiff has standing because the challenged conduct, including

 Defendant’s actions resulting in Plaintiff and the class members paying excessive compensation

 to the recordkeeper, which affected all Plan participants in the same way, including Plaintiff.

         31.     Plaintiff’s individual account in the Plan suffered losses because her Plan account

 was assessed an excessive amount for recordkeeping, which would not have been incurred had

 Defendant discharged its fiduciary duties to the Plan and prudently monitored and controlled




                                                  -7-
Case 1:24-cv-00536-AJT-WEF             Document 1      Filed 04/04/24      Page 8 of 24 PageID# 8




 compensation to a reasonable level. That money should have gone towards retirement.

          32.   Plaintiff is currently invested in the Plan and, as such, continues to pay the

 excessive recordkeeping expenses identified herein. As a current participant in the Plan, she has

 standing to seek prospective relief, including the changes identified in the “Prayer for Relief”

 below.

          33.   As a result of Defendant’s actions, the Plaintiff and class members are entitled to

 restitution in the amount of the difference between the value of their Plan accounts currently, or as

 of the time their accounts were distributed, and what their accounts are or would have been worth,

 but for Defendant’s breaches of fiduciary duty as described herein.

                                     Defendant is the Plan Administrator

          34.   Defendant is the “named fiduciary” to the Plan because it is the Plan administrator

 as that term is defined by ERISA. Defendant also exercised authority and discretionary control

 respecting the management of the Plan. Defendant is thus a statutory fiduciary to the Plan. 29

 U.S.C. §1002(21)(A)(i) and (iii).

                                Additional Information on the Plan

          35.   The Plan is a defined contribution salary deferral plan under Section 401(k) of the

 Internal Revenue Code (“IRC”). All persons employed by Defendant and its participating affiliates

 are eligible to participate in the Plan except those with collective bargaining rights, unless

 negotiated.

          36.   The Plan is subject to the provisions of ERISA.




                                                 -8-
Case 1:24-cv-00536-AJT-WEF               Document 1        Filed 04/04/24      Page 9 of 24 PageID# 9




                                   CLASS ACTION ALLEGATIONS

           37.     Plaintiff brings this action as a class action pursuant to Fed. R. Civ. P. 23 on behalf

     of themselves and the following proposed class (“Class”):1

                   All persons, except Defendant’s fiduciaries and their immediate
                   family members, who were participants in or beneficiaries of the
                   Plan, at any time between March 8, 2018, and the present (the “Class
                   Period”).
           38.     The members of the Class are so numerous that joinder of all members is

     impractical. There were 48,359 Plan participants with account balances, as of December 31, 2022.

     There were more than 40,000 Plan participants at all times during the six-year relevant time

     period.

           39.     Plaintiff’s claims are typical of the claims of the members of the Class. Like other

     Class members, Plaintiff participated in the Plan and suffered injuries because of Defendant’s

     mismanagement of the Plan. Defendant treated Plaintiff consistently with other Class members

     and managed the Plan as a single entity. Plaintiff’s claims and the claims of all Class members

     arise out of the same conduct, policies, and practices of Defendant as alleged herein, and all

     members of the Class have been similarly affected by Defendant’s wrongful conduct.

           40.     There are questions of law and fact common to the Class, and these questions

     predominate over questions affecting only individual Class members. Common legal and factual

     questions include, but are not limited to:

                   A.      Whether Defendant is a fiduciary of the Plan;

                   B.      Whether Defendant agreed to allow the Plan’s recordkeeper to
                           receive excessive direct compensation from the Plan;

                   C.       Whether Defendant agreed to allow the Plan’s recordkeeper to
                           receive excessive indirect compensation from the Plan;

 1
   Plaintiff reserves the right to propose other or additional classes or subclasses in his motion for
 class certification, or subsequent pleadings in this action.


                                                    -9-
Case 1:24-cv-00536-AJT-WEF           Document 1           Filed 04/04/24   Page 10 of 24 PageID# 10




                  D.     Whether Defendant agreed to allow the Plan’s recordkeeper to
                         receive compensation via float from Plan assets;

                  E.     Whether Defendant was informed about the amount of
                         compensation the Plan’s recordkeeper received from float;

                  F.     Whether Defendant included in its negotiations with the Plan
                         recordkeeper in regard to the compensation the recordkeeper
                         received from the Plan via direct compensation and via the
                         compensation the recordkeeper was receiving via float;

                  G.     Whether Defendant monitored and tracked the amount of
                         compensation the recordkeeper obtained from the Plan;

                  H.     Whether the Defendant disclosed to the Plan participants the amount
                         of compensation the recordkeeper received from the Plan;

                  I.     Whether the Defendant disclosed any information to Plan
                         participants about the amount of compensation the Plan’s
                         recordkeeper received via float;

                  J.     Whether Defendant failed to prudently ensure the Plan’s
                         compensation to the recordkeeper was being managed in
                         compliance with ERISA;

                  K.     The proper form of equitable and injunctive relief; and

                  L.     The proper measure of relief.

        41.       Plaintiff will fairly and adequately represent the Class and has retained counsel

  experienced and competent in the prosecution of ERISA class action litigation. Plaintiff has no

  interests antagonistic to those of other members of the Class. Plaintiff is committed to the vigorous

  prosecution of this action and anticipate no difficulty in the management of this litigation as a

  class action.

        42.       This action may be properly certified under Fed. R. Civ. P. 23(b)(1). Class action

  status in this action is warranted under Fed. R. Civ. P. 23(b)(1)(A) because prosecution of separate

  actions by the members of the Class would create a risk of establishing incompatible standards of




                                                 - 10 -
Case 1:24-cv-00536-AJT-WEF           Document 1            Filed 04/04/24    Page 11 of 24 PageID# 11




  conduct for Defendant. Class action status is also warranted under Fed. R. Civ. P. 23(b)(1)(B)

  because prosecution of separate actions by the members of the Class would create a risk of

  adjudications with respect to individual members of the Class that, as a practical matter, would

  be dispositive of the interests of other members not parties to this action, or that would

  substantially impair or impede their ability to protect their interests.

        43.     In the alternative, certification under Fed. R. Civ. P. 23(b)(2) is warranted because

  the Defendant have acted or refused to act on grounds generally applicable to the Class, thereby

  making appropriate final injunctive, declaratory, or other appropriate equitable relief with respect

  to the Class as a whole.

   DEFENDANT’S FIDUCIARY STATUS AND OVERVIEW OF FIDUCIARY DUTIES

        44.     ERISA requires every covered retirement plan to provide for one or more named

  fiduciaries who will have “authority to control and manage the operation and administration of

  the plan.” ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1).

        45.     ERISA treats as fiduciaries not only persons explicitly named as fiduciaries under

  § 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who in fact perform fiduciary

  functions. Thus, a person is a fiduciary to the extent: “(i) he exercises any discretionary authority

  or discretionary control respecting management of such plan or exercise any authority or control

  respecting management or disposition of its assets, (ii) he renders investment advice for a fee or

  other compensation, direct or indirect, with respect to any moneys or other property of such plan,

  or has any authority or responsibility to do so, or (iii) he has any discretionary authority or

  discretionary responsibility in the administration of such plan.” ERISA § 3(21)(A)(i), 29 U.S.C.

  § 1002(21)(A)(i).




                                                  - 11 -
Case 1:24-cv-00536-AJT-WEF          Document 1           Filed 04/04/24   Page 12 of 24 PageID# 12




         46.    As described above, Defendant was—and still is—a fiduciary of the Plan because

  Defendant:

                A.       is so named; and/or

                B.       exercised authority or control respecting management or
                         disposition of the Plan’s assets; and/or

                C.       exercised discretionary authority or discretionary           control
                         respecting management of the Plan; and/or

                D.       had discretionary authority or discretionary responsibility in the
                         administration of the Plan.

         47.    As a fiduciary, Defendant was/is required by ERISA § 404(a)(1), 29 U.S.C. §

  1104(a)(1), to manage and administer the Plan solely in the interest of the Plan’s participants and

  beneficiaries and with the care, skill, prudence, and diligence under the circumstances then

  prevailing that a prudent person acting in a like capacity and familiar with such matters would

  use in the conduct of an enterprise of a like character and with like aims as the Plan here. These

  twin duties are referred to as the duties of loyalty and prudence, and they are “the highest known

  to the law.” Sweda, 923 F.3d at 333.

        48.     ERISA also “imposes a ‘prudent person’ standard by which to measure fiduciaries’

  investment decisions and disposition of assets.” Fifth Third Bancorp v. Dudenhoeffer, 573 U.S.

  409 (2014) (quotation omitted).

        49.     During the Class Period, Defendant did not act prudently, nor in the best interests

  of the Plan’s participants, because it caused Plan participants to pay excessive and unreasonable

  compensation to the Plan’s recordkeeper.

        50.     During the Class Period Defendant failed to maintain and/or utilize a proper system

  of review in place to ensure that participants in the Plan were being charged appropriate and

  reasonable fees and reasonable compensation to the Plan’s recordkeeper. Additionally, Defendant



                                                - 12 -
Case 1:24-cv-00536-AJT-WEF            Document 1          Filed 04/04/24   Page 13 of 24 PageID# 13




  failed to leverage the size of the Plan to negotiate the lowest (or even prudent) levels of fees for

  Plan participants. Defendant instead caused the Plan and its participants to pay excessive

  compensation to the Plan’s recordkeeper.

        51.      As set forth in detail below, Defendant breached its fiduciary duties to the Plan and

  its participants and beneficiaries and is therefore liable for breaching those duties under 29 U.S.C.

  §§ 1104(a)(1) and 1105(a).

                                    SPECIFIC ALLEGATIONS
       Improper Management of the Plan Cost the Plan’s Participants Millions in Savings

        52.      “Wasting beneficiaries’ money is imprudent. In devising and implementing

  strategies for the investment and management of trust assets, trustees are obligated to minimize

  costs.” Uniform Prudent Investor Act (the “UPIA”) § 7.

        53.      “The Restatement … instructs that ‘cost-conscious management is fundamental to

  prudence in the investment function.’” Tibble v. Edison Int'l, 843 F.3d 1187, 1197–98 (9th Cir.

  2016) (quoting Restatement (Third) of Trust § 90, cmt. b). See also U.S. Dep’t of Labor, A Look

  at 401(k) Plan Fees, at 2 (Aug. 2013) (“You should be aware that your employer also has a speciﬁc

  obligation to consider the fees and expenses paid by your plan ... Employers are held to a high

  standard of care and diligence and must discharge their duties solely in the interest of the plan

  participants and their beneﬁciaries.”).2

        54.      Higher fees of only 0.18% to 0.4% can have a large effect on a participant’s

  investment results over time because “[b]eneficiaries subject to higher fees for materially identical

  funds lose not only the money spent on higher fees, but also ‘lost investment opportunity’; that is,




  2
    Available at: https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-
  center/publications/a-look-at-401k-plan-fees.pdf (last visited November 8, 2022).


                                                 - 13 -
Case 1:24-cv-00536-AJT-WEF           Document 1           Filed 04/04/24   Page 14 of 24 PageID# 14




  the money that the portion of their investment spent on unnecessary fees would have earned over

  time.” Tibble, 843 F.3d at 1198.

        55.      Most participants in 401(k) plans expect that their 401(k) accounts will be their

  principal source of income after retirement. “The 401(k) is the major source people think they are

  going to rely on.”3 Although 401(k) accounts are fully funded at all times, that does not prevent

  plan participants from losing money on poor investment choices of plan sponsors and fiduciaries,

  whether due to poor performance, high fees, or both.

        56.      Indeed, the Department of Labor has stated that employers are held to a “high

  standard of care and diligence” and must establish a prudent process for selecting service providers

  and ensuring that fees are reasonable. See “A Look at 401(k) Plan Fees,” supra.

                            Defendant Failed to Monitor or Control the
                              Plan’s Recordkeeper’s Compensation

        57.      The term “recordkeeping” is a catchall term for the suite of administrative services

  typically provided to a defined contribution plan by the plan’s “recordkeeper.” Beyond simple

  provision of account statements to participants, it is quite common for the recordkeeper to provide

  a broad range of services to a defined contribution plan as part of its package of services. These

  services can include claims processing, trustee services, participant education, managed account

  services, participant loan processing, Qualified Domestic Relations Order (“QDRO”) processing,

  preparation of disclosures, self-directed brokerage accounts, investment consulting, and general

  consulting services.




  3
    Brandon, Emily, “10 Essential Sources of Retirement Income,” (May 6, 2011), available at:
  https://money.usnews.com/money/retirement/slideshows/10-essential-sources-of-retirement-
  income (last visited November 4, 2022).


                                                 - 14 -
Case 1:24-cv-00536-AJT-WEF            Document 1           Filed 04/04/24   Page 15 of 24 PageID# 15




        58.      Nearly all recordkeepers in the marketplace offer this range of services. The

  services are essentially the same. Many of the recordkeeping services can be provided by

  recordkeepers at very little cost. In fact, several of these services, such as managed account

  services, self-directed brokerage, QDRO processing, and loan processing are often a profit center

  for recordkeepers.

        59.      The market for recordkeeping is highly competitive, with many vendors equally

  capable of providing a high-level service. As a result of such competition, vendors vigorously

  compete for business by offering the best price.

        60.      The compensation the Plan’s recordkeeper received from the Plan is and remains

  excessive in relation to the services that the recordkeeper provided to the Plan because, in fact, the

  services provided were nothing out of the ordinary, are available from other recordkeepers for

  much less money, and a prudent fiduciary would have observed the excessive compensation being

  paid to the recordkeeper and taken corrective action.

        61.      The cost of providing recordkeeping services depends on the number of participants

  in a plan. Plans with large numbers of participants can take advantage of economies of scale by

  negotiating a lower per-participant recordkeeping fee. Because recordkeeping expenses are driven

  by the number of participants in a plan, most plans are charged on a per-participant basis.

        62.      Recordkeeping expenses can either be paid directly from plan assets, or indirectly

  by taking money from Plan participants’ investments in a practice known as revenue sharing, or

  via float (or a combination of all three). Revenue sharing payments are derived from investments

  within the plan, typically mutual funds, to the plan’s recordkeeper or to the plan directly, to

  compensate for recordkeeping services that the mutual fund company otherwise would have to

  provide.




                                                  - 15 -
Case 1:24-cv-00536-AJT-WEF           Document 1           Filed 04/04/24   Page 16 of 24 PageID# 16




        63.      Utilizing indirect payment methods is not per se imprudent. Plaintiff is not making

  a claim against Defendant merely because it used indirect methods to pay for recordkeeping.

        64.      However, when indirect payment methods are left unchecked, it can be devastating

  for Plan participants. Nobody sees the money change hands, and very few understand what the

  total compensation paid to the recordkeeper really is. It is a way to milk large sums of money out

  of large plans by charging fees that never go down (when plans are ignored or taken advantage

  of). In some cases, employers and employees believe the plan is ‘free’ when it is in fact expensive.”

  See Justin Pritchard, “Revenue Sharing and Invisible Fees.”4

        65.      Because indirect payments are asset based, they bear no relation to actual services

  provided, and bear no relation to a reasonable recordkeeping fee and can lead to excessive

  compensation. Again, it is important to emphasize that fees obtained through indirect payment

  methods, like float, are tethered not to any actual services provided to the Plan; but rather, to a

  percentage of assets in the Plan and/or money moving into and out of the Plan. As the assets in the

  Plan increase, so too increases the recordkeeping compensation that a recordkeeper pockets from

  the Plan and its participants. One commentator likened this fee arrangement to hiring a plumber to

  fix a leaky gasket but paying the plumber not on actual work provided but based on the amount of

  water that flows through the pipe. If asset-based fees are not monitored, the fees skyrocket as more

  money flows into the Plan.

        66.      It is well-established that plan fiduciaries have an obligation to monitor and control

  recordkeepers’ compensation to ensure that such compensation remains reasonable. See, e.g.,

  Tussey v. ABB, Inc., 746 F.3d 327, 336 (8th Cir. 2014) (“Tussey II”) (holding that fiduciaries of a




  4
    Available at: http://www.cccandc.com/p/revenue-sharing-and-invisible-fees (last visited
  November 8, 2022).


                                                 - 16 -
Case 1:24-cv-00536-AJT-WEF            Document 1           Filed 04/04/24   Page 17 of 24 PageID# 17




  401(k) plan “breach[] their fiduciary duties” when they “fail[] to monitor and control

  recordkeeping fees” incurred by the plan). Excessive expenses “decrease [an account’s] immediate

  value” and “depriv[es] the participant of the prospective value of funds that would have continued

  to grow if not taken out in fees.” Sweda, 923 F.3d at 328. No matter the method of payment or fee

  collection, the fiduciary must understand the total amount paid to the recordkeeper and ensure that

  the compensation is reasonable. See Tussey II, 746 F.3d at 336.

        67.      Prudent fiduciaries implement three related processes to prudently manage and

  control a plan’s recordkeeping costs. First, they must closely monitor the recordkeeping fees being

  paid by the plan. A prudent fiduciary tracks the recordkeeper’s compensation by demanding

  documents from the recordkeeper that summarize and contextualize the recordkeeper’s

  compensation, such as fee transparencies, fee analyses, fee summaries, relationship pricing

  analyses, cost-competitiveness analyses, and multi-practice and stand-alone pricing reports.

        68.      Second, prudent fiduciaries make an informed evaluation as to whether a

  recordkeeper is receiving no more than a reasonable compensation for the services provided to a

  plan, a prudent fiduciary must identify all sources of compensation, including direct compensation

  and indirect compensation received by the Plan’s recordkeeper. Prudent fiduciaries closely

  monitor the amount of compensation to ensure that the recordkeeper’s total compensation from all

  sources does not exceed reasonable levels and require that any compensation that exceeds a

  reasonable level be returned to the plan and its participants. To the extent prudent fiduciaries agree

  that recordkeepers receive interest or float income from funds transferred into or out of a plan,

  fiduciaries track and control these amounts as well.

        69.      Third, a plan’s fiduciaries must remain informed about overall trends in the

  marketplace regarding the fees being paid by similar plans, as well as the recordkeeping rates that




                                                  - 17 -
Case 1:24-cv-00536-AJT-WEF          Document 1           Filed 04/04/24   Page 18 of 24 PageID# 18




  are available in the marketplace. This will generally include conducting a request for proposal

  (“RFP”) process at reasonable intervals, and immediately if the plan’s recordkeeping expenses

  have grown significantly or appear high in relation to the general marketplace. More specifically,

  an RFP should happen at least every three to five years as a matter of course, and more frequently

  if a plan experiences an increase in recordkeeping costs or fee benchmarking reveals the

  recordkeeper's compensation to exceed levels found in other, similar plans. George v. Kraft Foods

  Global, Inc., 641 F.3d 786, 800 (7th Cir. 2011); Kruger v. Novant Health, Inc., 131 F. Supp. 3d

  470, 479 (M.D.N.C. 2015).

        70.      Defendant failed to obtain competitive bids (“RFP”) during the Class Period which,

  in turn, caused the Plan to overpay for recordkeeping during the Class Period.

        71.      By going through an RFP process annually, or at least every three years—rather

  than not at all—a prudent plan fiduciary can review the level of service provided by the

  recordkeeper and compare compensation in the marketplace to those being offered by the current

  recordkeeper. This also allows the plan fiduciary to negotiate with its current provider for lower

  compensation and/or move to a new provider to provide the same or better services for a more

  competitive and reasonable fee.

        72.      Nowhere in Plaintiff’s monthly statements, nor her quarterly statements, nor her

  annual statements, does Defendant bother disclosing how much compensation the Plan pays its

  recordkeeper via float. The information is also notably absent from the Plan’s Summary Plan

  Description, U.S. Department of Labor 5500 Annual disclosures, Plan participant statements, or

  any documents of which Plaintiff is aware.

        73.      The undisclosed, undocumented, and simply ignored indirect compensation that the

  Plan’s recordkeeper receive from float equals millions of dollars of wasted Plan assets. To make




                                                - 18 -
Case 1:24-cv-00536-AJT-WEF            Document 1          Filed 04/04/24   Page 19 of 24 PageID# 19




  matters worse, the Plan’s assets have increased by nearly $2 billion during the Class Period. That

  means the recordkeeper’s compensation via float has skyrocketed solely due to an increase in Plan

  assets, and the recordkeeper’s compensation will continue to increase unless Defendant honors its

  fiduciary duties.

        74.       And to make matters even worse still, Defendant caused the Plan to pay the

  recordkeeper millions of dollars each year in excessive direct compensation.

        75.       As noted above, plans of a similar size pay no more than $25 per year per participant

  for all recordkeeping fees. Here, the “direct compensation” Defendant admits it caused the Plan to

  pay the recordkeeper was excessive, wasting millions of dollars of retirement savings over the

  Class Period.

        76.       In documents made available to Plaintiff thus far, Defendant disclosed the

  following in direct compensation it caused the Plan to pay the recordkeeper:5


                  ●      2022 – $5,987,905 or $124 per participant;

                  ●      2021 – $6,635,838 or $140 per participant;

                  ●      2020 – $6,669,977 or $142 per participant;

                  ●      2019 – $6,375,619 or $139 per participant;

                  ●      2018 – $3,434,663 or $78 per participant.

        77.       From 2022 to 2018 Defendant caused the Plan to pay the recordkeeper direct

  compensation of $29,104,002, or $125 per participant. A reasonable total fee for the services the

  recordkeeper provided to the Plan during this period would have been no more than $6,000,000.



  5
   Plaintiff is also seeking Plan losses for excessive compensation to the recordkeeper in 2023 and
  going forward through the date that the action resolves. Plaintiff does not have these numbers yet
  because Defendant has made no disclosures concerning recordkeeper compensation beyond
  December 31, 2022.


                                                 - 19 -
Case 1:24-cv-00536-AJT-WEF             Document 1          Filed 04/04/24     Page 20 of 24 PageID# 20




  Accordingly, Defendant imprudently wasted nearly $23,000,000 in Plan participants retirement

  savings by causing the Plan to pay the recordkeeper excessive direct compensation.

           78.     Looking at recordkeeping costs for other plans of a similar size shows that the Plan

  was paying higher recordkeeping fees than its peers – an indication the Plan’s fiduciaries failed to

  appreciate the prevailing circumstances surrounding recordkeeping expenses. The chart below

  compares the Plan to comparable plans with similar numbers of participants and assets under

  management for the year 2020:

        Plan            Total                  Assets                  Recordkeeping          Per
                     Participants                                          Costs           Participant
       Cisco           59,460             $16,306,454,000                $1,324,571            $22
   Systems, Inc.
    401(k) Plan
   Sutter Health       67,149              $5,565,602,878                $1,719,469            $25
   Savings Plan
      Deseret          35,273              $4,806,644,891                   $784,040          $22.23
    401(k) Plan
      Thermo           43,691              $6,618,601,000                $1,087,324           $24.88
       Fisher
     Scientific,
     Inc., 401k
    Retirement
        Plan

           79.     Further, Fidelity Investments (aka FMR, LLC) is one of the country’s most

  respected recordkeepers for retirement plans, like the Plan here. Fidelity has actually provided

  evidence supporting Plaintiff’s position on this discrete issue. Fidelity’s own retirement plan was

  recently sued. In that case, the “parties [] stipulated that if Fidelity were a third party negotiating

  this fee structure at arms-length, the value of services would range from $14-$21 per person per

  year over the class period, and that the recordkeeping services provided by Fidelity to this Plan are

  not more valuable than those received by other plans of over $1,000,000,000 in assets where

  Fidelity is the recordkeeper.” Moitoso et al. v. FMR, et al., 451 F.Supp.3d 189, 214 (D. Mass.

  2020).


                                                  - 20 -
Case 1:24-cv-00536-AJT-WEF            Document 1           Filed 04/04/24   Page 21 of 24 PageID# 21




          80.     Additionally, in the Moitoso case Fidelity went on to stipulate as follows:

           The value of the recordkeeping services that Fidelity provided to the Plan in 2014
           was $21 per participant; the value of the recordkeeping services that Fidelity
           provided to the Plan in 2015 and 2016 was $17 per participant, per year; and the
           value of the recordkeeping services that Fidelity has provided to the Plan since
           January 1, 2017 is $14 per participant, per year. Had the Plan been a third-party
           plan that negotiated a fixed fee for recordkeeping services at arm’s length with
           Fidelity, it could have obtained recordkeeping services for these amounts during
           these periods. The Plan did not receive any broader or more valuable recordkeeping
           services from Fidelity than the services received by any other Fidelity-record kept
           plan with at least $1 billion in assets during the Class Period (November 18, 2014,
           to the present).6

          81.     In sum, given the size of the Plan's assets during the Class Period and total number

  of participants, in addition to the general trend towards lower recordkeeping expenses in the

  marketplace as a whole, Defendant could have obtained for the Plan recordkeeping services that

  were comparable to or superior to the typical services provided by the Plan's recordkeeper at a

  lower cost. Defendant failed to do so and, as a result, violated its fiduciary duties under ERISA.

                                   FIRST CLAIM FOR RELIEF
                              Breaches of Fiduciary Duties of Prudence

          82.     Plaintiff re-alleges and incorporates herein by reference all prior allegations in this

  Complaint as if fully set forth herein.

          83.     As a fiduciary of the Plan, Defendant was and remains subject to the fiduciary

  duties imposed by ERISA § 404(a), 29 U.S.C. § 1104(a). These fiduciary duties included managing

  the Plan’s fees and assets for the sole and exclusive benefit of Plan participants and beneficiaries,

  and acting with the care, skill, diligence, and prudence under the circumstances that a prudent

  person acting in a like capacity and familiar with such matters would use in the conduct of an

  enterprise of like character and with like aims.




  6
      Moitoso, No. 1:18-cv-12122-WGY, ECF 138-67, ¶ 2.


                                                  - 21 -
Case 1:24-cv-00536-AJT-WEF              Document 1           Filed 04/04/24   Page 22 of 24 PageID# 22




        84.        Defendant breached these fiduciary duties in multiple respects as discussed

  throughout this Complaint. Defendant failed to monitor or control the excessive compensation paid

  for recordkeeping services.

        85.        Defendant’s imprudence caused the Plan to lose millions of dollars during the Class

  Period.

        86.        Defendant’s imprudence will continue to cause the Plan losses unless this case

  moves forward.

                                         PRAYER FOR RELIEF

            For these reasons, Plaintiff, on behalf of the Plan, respectfully requests that the Court:

            1.     Find and declare that the Defendant has breached its fiduciary duties as described

  above;

            2.      Find and adjudge that Defendant is personally liable to make good to the Plan all

  losses to the Plan resulting from each breach of fiduciary duties, and to otherwise restore the Plan

  to the position it would have occupied but for the breaches of fiduciary duties;

            3.     Determine the method by which Plan losses under 29 U.S.C. §1109(a) should be

  calculated;

            4.     Order Defendant to provide all accountings necessary to determine the amounts

  Defendant must make good to the Plan under §1109(a);

            5.     Remove the fiduciaries who have breached their fiduciary duties and enjoin them

  from future ERISA violations;

            6.     Surcharge against Defendant and in favor of the Plan all amounts involved in any

  transactions which such accounting reveals were improper, excessive and/or in violation of

  ERISA;




                                                    - 22 -
Case 1:24-cv-00536-AJT-WEF          Document 1          Filed 04/04/24   Page 23 of 24 PageID# 23




         7.     Certify the Class, appoint the Plaintiff as class representative, and appoint her

  counsel as Class Counsel;

         8.     Award to the Plaintiff and the Class their attorney’s fees and costs under 29 U.S.C.

  §1132(g)(1) and the common fund doctrine;

         9.     Order the payment of interest to the extent it is allowed by law; and

         10.    Grant other equitable or remedial relief as the Court deems appropriate.

         DATED this 4th day of April 2024.

                                                        Respectfully submitted,


                                                        /s Christopher M. FitzPatrick
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                                               - 23 -
Case 1:24-cv-00536-AJT-WEF   Document 1       Filed 04/04/24   Page 24 of 24 PageID# 24




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                                     - 24 -
